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 8
 9
               IN THE UNITED STATES DISTRICT COURT FOR THE
10
11
                        EASTERN DISTRICT OF CALIFORNIA

12
13
14   UNITED STATES OF AMERICA,             )       CR. No. CR-S 08-00392 GEB
                                           )
15
                        Plaintiff,         )       STIPULATION AND PROPOSED
16                                         )       ORDER TO CONTINUE CHANGE
17
                 v.                        )       OF PLEA
                                           )
18   Thomas GARCIA,                        )
19                                         )
                        Defendant.         )       Hon. Judge Garland E. Burrell
20
                                           )
21                                         )
22
           The defendant, Thomas Garcia, through his undersigned counsel, and the
23
24   United States, through its undersigned counsel, hereby agree and request the
25
     Change of Plea hearing currently set for Friday, May 7, 2010 at 9:00 a.m. be
26
27   vacated and continued until Friday, August 27, 2010 at 9:00 a.m.
28




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             Case 2:08-cr-00392-GEB Document 291 Filed 05/10/10 Page 2 of 3



 1         A continuance is necessary to provide counsel with additional time for case
 2   preparation and for ongoing plea and sentencing negotiations.
 3
           The parties also stipulate that time should be excluded under the Speedy
 4
 5   Trial Act due to the needs of counsel for continued case preparation and ongoing
 6
     plea and sentencing negotiations. Local Code T4 & 18 U.S.C § 3161 (h)(7)(B)(iv).
 7
 8         I, William E. Bonham, the filing party, have received authorization from
 9
     AUSA Mike Beckwith to sign and submit this stipulation and proposed order on
10
11   his behalf and that defense counsel has authorization from his respective client.
12         Accordingly, the defense and the United States agree and stipulate that the
13
14
     Change of Plea hearing for defendant, Thomas Garcia, should be continued until

15   Friday, August 27, 2010 at 9:00 a.m. The parties stipulate that the ends of justice
16
     served by granting this continuance outweigh the best interests of the public and
17
18   defendant in a Speedy Trial. 18 U.S.C. § 3161(h)(7)(A).
19
     Dated: May 6, 2010
20
21                                                 BENJAMIN B. WAGNER
                                                   United States Attorney
22
23                                                 By:/s/ WILLIAM E. BONHAM for
24                                                 MIKE BECKWITH
                                                   Assistant U.S. Attorney
25
26
27
     Dated: May 6, 2010
28




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               Case 2:08-cr-00392-GEB Document 291 Filed 05/10/10 Page 3 of 3



 1                                                  By:/s/ WILLIAM E. BONHAM for
                                                    WILLIAM E. BONHAM
 2                                                  Counsel for Defendant
 3                                                  THOMAS GARCIA
 4
                                            ORDER
 5
 6           IT IS SO ORDERED THAT THE Change of Plea hearing for defendant,
 7   Thomas Garcia, currently set for Friday, May 7, 2010 at 9:00 a.m. should be
 8
     vacated and a status hearing is scheduled on Friday, August 27, 2010 at 9:00 a.m.
 9
10           I find that the continuance is necessary due to the needs of counsel for
11
     continued case preparation and plea/sentencing negotiations. Accordingly, time is
12
13   excluded under the Speedy Trial Act, due to needs of counsel for additional case
14
     preparation and ongoing plea/ sentencing negotiations, from May 7, 2010 up to and
15
16   including August 27, 2010 pursuant to Local Code T4 and 18 U.S.C. §
17
     3161(h)(7)(B)(iv). I find that the ends of justice served by granting this
18
19
     continuance outweigh the best interest of the public and defendant in a speedy trial.

20   18 U.S.C. § 3161(h) (7)(A).
21
     Dated: May 7, 2010
22                                          GARLAND E. BURRELL, JR.
                                            United States District Judge
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24
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